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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

nd

UNITED STATES OF AMERICA
ORDER

S119 CR. 741 (WHP)
BRYAN COHEN,

Defendant.

WHEREAS, with the defendant’s consent, his guilty plea
allocution was made before a United States Magistrate Judge on
January 7, 2020;

WHEREAS, a transcript of the alleocution was made and
thereafter was transmitted to the District Court; and

WHEREAS, upon review of that transcript, this Court has
determined that the defendant entered the guilty plea knowingly

and voluntarily and that there was a factual basis for the guilty

plea;
IT IS HEREBY ORDERED that the defendant’s guilty plea is
accepted.
SO ORDERED:
Dated: New York, New York

January %%, 2020

OQ
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THE HONORABLE WILLIAM H. PAULEY III

UNITED STATES DISTRICT JUDGE

 
